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  Of Attorneys for Plaintiffs

                           IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

                                          PORTLAND DIVISION


TRINKA A. TURNER, JUNEA R.                              Case No. 3:13-cv-01900 SI
MURPHY, and JENNIFER L. JUNKINS,
on behalf of themselves and all other
similarly situated,                                     PLAINTIFFS’ MOTION FOR CLASS
                                                        CERTIFICATION
                            Plaintiffs,
                                                        Oral Argument Requested
  v.

THOMAS VILSACK, Secretary of the
Department of Agriculture;
DOUGLAS O’BRIEN, Acting
Undersecretary for Rural Development;
RICHARD DAVIS, Acting
Administrator Rural Housing Service;
and VICKI L. WALKER, Oregon RD
State Director,
                           Defendants.



  1 – MOTION FOR CLASS CERTIFICATION
                                              Oregon Law Center
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       Pursuant to LR 7.1, Plaintiffs have made a good faith effort to resolve this dispute with

Defendants, and have been unable to do so.

       Plaintiffs’ respectfully request that the Court, pursuant to Fed. R. Civ. P. 23(b)(3), certify

a class consisting of all residents of Jandina Park Apartments. This motion is supported by

Plaintiffs’ memorandum of law accompanying this motion.



DATED this 14th day of January, 2014


                                              By:     /s/ Michael Pijanowski
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2 – MOTION FOR CLASS CERTIFICATION
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